Case 20-20425-GLT         Doc 248 Filed 02/25/21 Entered 02/25/21 11:00:29                     Desc Ntc
                               Ord Set Hrg Expd Page 1 of 1
 Form 611
                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  IN RE:

  VideoMining Corporation                            :         Case No. 20−20425−GLT
  25−1853162                                         :         Chapter: 11
       Debtor(s)                                     :
                                                     :
  VideoMining Corporation                            :
         Movant(s),                                  :         Related to Doc. No. 241
                                                     :
      v.                                             :         Hearing Date: 2/25/21 at 04:00 PM
  NO RESPONDENT                                      :         Response Date: 2/25/21 AT 4PM
         Respondent(s).                              :
                                                     :
                                                     :

            NOTICE AND ORDER SETTING HEARING ON AN EXPEDITED BASIS

          NOTICE IS HEREBY GIVEN THAT an expedited motion entitled Motion to
 Reschedule Hearing on Certification of Counsel has been filed in the above−referenced case by the
 Debtor .

           A hearing has been scheduled for February 25, 2021 at 04:00 PM in Zoom location,
 https://www.zoomgov.com/j/. All parties wishing to appear by video conference must register by
 submitting a video conference registration form via the link published on Judge Taddonio's website
 (http://www.pawb.uscourts.gov/procedures−2) no later than 4 p.m. on the business day prior to a
 scheduled hearing. All counsel and parties participating by video conference shall comply with Judge
 Taddonio's Modified Procedures for Remote Participation.

            Responses to the Motion shall be filed with the Clerk of the Bankruptcy Court and served
 on parties in interest on or before at the time of the hearing.

            A courtesy copy of all responses shall be delivered to chambers with the filing.

          Service shall be made as directed below. A certificate of service shall be filed with the
 Clerk immediately.

  Dated: February 25, 2021

  cm: Debtor
      Debtor's Counsel



 Movant shall immediately serve a copy of this scheduling Order and the Motion by hand delivery,
 e−mail, or facsimile on the Respondent(s), any appointed trustee, Debtor(s), Debtor(s)' Attorney, all
 secured creditors whose interests may be affected by the relief requested, the U.S. Trustee, and the
 attorney for any committee. In the absence of a committee, the Movant shall serve the 20 largest
 unsecured creditors. Movant shall deliver a paper copy of the motion and this notice of hearing to
 chambers.




                                                 Page 1
